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 1   Clinton J. McCord, SBN 204749; cmccord@edwardswildman.com
     EDWARDS WILDMAN PALMER LLP
 2   9665 Wilshire Blvd., Suite 200
     Beverly Hills, CA 90212
 3   Telephone No.: 310-860-8700
     Fax No.: 310-860-3800
 4
     Attorneys for Plaintiff NANOENTEK, INC.
 5   (Additional Attorneys listed on signature page)

 6
     RONALD F. LOPEZ, SBN 111756; rflopez@nixonpeabody.com
 7   NIXON PEABODY
     One Embarcadero Center, 18th Floor
 8   San Francisco, California 94111-3600
     Telephone: (415) 984-8200
 9   Facsimile: (415) 984-8300
10   ROBERT E. KREBS, SBN 057526; rkrebs@nixonpeabody.com
     JENNIFER H AYES, SBN 241533; jenhayes@nixonpeabody.com
11   NIXON PEABODY LLP
     2 Palo Alto Square
12   3000 El Camino Real, Suite 500
     Palo Alto, California 94306
13   Telephone: (650) 320-7700
     Facsimile: (650) 320-7701
14
     Attorneys for Defendant BIO-RAD LABORATORIES, INC.
15

16                               UNITED STATES DISTRICT COURT

17                            NORTHERN DISTRICT OF CALIFORNIA
                                                                              JCS
18
     NANOENTEK, INC.,                                 Case No. 3:11-CV-06237 JSW
19
              Plaintiff,                              [PROPOSED] STIPULATED
20                                                    ORDER REGARDING PROPOSED
     vs.                                              SCHEDULE FOR MARKMAN BRIEFING
21                                                                   Joseph C. Spero
     BIO-RAD LABORATORIES, INC.,                      The Honorable Jeffrey S. White
22
              Defendant.
23

24

25            WHEREAS, Plaintiff NanoEnTek, Inc. (“NanoEnTek”) and Defendant Bio-Rad
26   Laboratories, Inc. (“Bio-Rad”), by and through their respective counsel of record, hereby
27   STIPULATE AND AGREE that the Court may enter the following order regarding a proposed
28
     [PROPOSED] STIPULATED ORDER REGARDING
                                                                                       3:11-CV-06237-JSW
     PROPOSED SCHEDULE FOR MARKMAN BRIEFING
        Case 3:11-cv-06237-JCS Document 88 Filed 06/18/12 Page 2 of 5



 1   schedule for Modified Markman briefing pursuant to the Local Patent Rules.

 2

 3         May 25, 2012 Plaintiff’s disclosure of asserted claims and infringement contentions and

 4                         document production

 5         July 20, 2012 Defendant’s invalidity contentions and document production
 6
           July 27, 2012 Exchange proposed terms for construction
 7
        August 10, 2012 Exchange preliminary claim constructions and extrinsic evidence
 8

 9      August 24, 2012 Joint Claim Construction and Prehearing Statement
10      August 27, 2012 Court mediation to be completed (ECF No. 69)
11
     September 24, 2012 Completion of claim construction discovery
12
     September 30, 2012 Deadline to join parties / amend pleadings (ECF No. 69)
13

14       October 9, 2012 Plaintiff’s opening claim construction brief

15      October 23, 2012 Defendant’s opposing/responsive claim construction brief
16
        October 30, 2012 Plaintiff’s reply claim construction brief
17
        October 30, 2012 Amended, Final Joint Claim Construction Statement
18
     JCS
19     November 6, 2012 Tutorial on technology (to be scheduled by the Court)
20   JCS
     November 13, 2012 Joint Claim Construction Hearing (to be scheduled by the Court)
21
            May 6, 2013 Fact Discovery Deadline (ECF No. 69)
22
          July 31, 2013 Expert Discovery Deadline; Expert witness list due (ECF No. 69)
23
                                                   9:30 - JCS
24      August 30, 2013 Dispositive Motion Hearing 9:00 AM in Courtroom 11 (ECF No. 69)

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     [PROPOSED] STIPULATED ORDER REGARDING
     PROPOSED SCHEDULE FOR MARKMAN BRIEFING
                                                  -2-                               3:11-CV-06237-JSW
        Case 3:11-cv-06237-JCS Document 88 Filed 06/18/12 Page 3 of 5



 1
     DATED: May 10, 2012                       Respectfully submitted,
 2
                                               EDWARDS WILDMAN PALMER LLP
 3
                                               ____/s/ David Cotta______________________
 4                                             Clinton J. McCord, SBN 204749
 5                                             George W. Neuner (admitted pro hac vice)
                                               gneuner@edwardswildman.com
 6                                             David Cotta (admitted pro hac vice)
                                               dcotta@edwardswildman.com
 7                                             Adam Samansky (admitted pro hac vice)
                                               asamansky@edwardswildman.com
 8                                             Peter Cuomo (admitted pro hac vice)
                                               pcuomo@edwardswildman.com
 9                                             Deborah Higashi Dodge (admitted pro hac vice)
                                               ddodge@edwardswildman.com
10                                             EDWARDS WILDMAN PALMER LLP
                                               111 Huntington Avenue
11                                             Boston, MA 02199-7613
                                               Telephone No.: 617-239-0100
12                                             Fax No.: 617-227-4420
13                                             Attorneys for Plaintiff
                                               NANOENTEK, INC.
14

15   DATED: May 10, 2012                       NIXON PEABODY LLP
16                                             ___/s/ Jennifer Hayes__________________
                                               Ronald F. Lopez, SBN 111756
17                                             One Embarcadero Center, 18th Floor
                                               San Francisco, California 94111-3600
18                                             Telephone: (415) 984-8200
                                               Facsimile: (415) 984-8300
19
20                                             Robert E. Krebs SBN 057526
                                               Jennifer Hayes SBN 241533
21                                             2 Palo Alto Square
                                               3000 El Camino Real, Suite 500
22                                             Palo Alto, California 94306
                                               Telephone: (650) 320-7700
23                                             Facsimile: (650) 320-7701
24
                                               Attorneys for Defendant
25                                             BIO-RAD LABORATORIES, INC.
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     [PROPOSED] STIPULATED ORDER REGARDING
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                                              -3-                               3:11-CV-06237-JSW
        Case 3:11-cv-06237-JCS Document 88 Filed 06/18/12 Page 4 of 5



 1
                                        FILER’S ATTESTATION
 2
            Pursuant to General Order No. 45, Section X, Subparagraph B, the undersigned attests that
 3

 4   all parties have concurred in the filing of this [PROPOSED] STIPULATED ORDER.

 5
     DATED: May 10, 2012                                   /s/ Jennifer Hayes
 6                                                             Jennifer Hayes
                                                                           S DISTRICT
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 8                                                                    IT IS S    DIF IE
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                                                                                                         R NIA
 9   PURSUANT TO STIPULATION, IT IS SO ORDERED.                                              Spero




                                                             NO
                                                                                   seph C.
                                                                           Judge Jo




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                                                              RT




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10                                                                    ER




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     DATED: June 18, 2012                                                      D IS T IC T O
                                                                                     R
11                                                  Jeffrey S. White Joseph C.Spero
                                                    United States District Judge
12                                                                 Magistrate

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     [PROPOSED] STIPULATED ORDER REGARDING
     PROPOSED SCHEDULE FOR MARKMAN BRIEFING
                                                 -4-                                                             3:11-CV-06237-JSW
        Case 3:11-cv-06237-JCS Document 88 Filed 06/18/12 Page 5 of 5



 1                                   CERTIFICATE OF SERVICE

 2
            The undersigned certifies that the [PROPOSED] STIPULATED ORDER was served
 3
     via the Court’s Electronic Case Management System on all counsel of record on May 10, 2012.
 4

 5

 6                                                     /s/ _Jennifer Hayes___                   __
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     [PROPOSED] STIPULATED ORDER REGARDING
     PROPOSED SCHEDULE FOR MARKMAN BRIEFING
                                                -5-                               3:11-CV-06237-JSW
